              Case 2:09-cr-20353-PJD-MKM ECF No. 166, PageID.669 Filed 11/24/14 Page 1 of 1

 PROB 35                           Report and Order Terminating Supervised Release
(Rev. 5/01)                                Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                     FOR THE

                                         EASTERN DISTRICT OF MICHIGAN


                UNITED STATES OF AMERICA

                             v.                                Crim. No. 09-CR-20353-05



                   GONZALEZ-LOZA, Javier



      On 01/11/2013 the above named was placed on Supervised Release for a period of three years. The
 supervised releasee was deported to Mexico on January 29, 2013, and the probation department has no
 information to suggest that he has re-entered the United States. It is accordingly recommended that the
 supervised releasee be discharged from supervision.




                                                               Respectfully submitted,



                                                                               s/Nioaka L. Morton
                                                                              U.S. Probation Officer
                                                                                  313-234-5582



                                                 ORDER OF COURT
        Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision and
that the proceedings in the case be terminated.


          Dated this        24th      day of            November              ,    2014      .


                                                                                  s/Patrick J. Duggan
                                                                                Patrick J. Duggan
                                                                           United States District Judge
